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            IN THE UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION


IN RE ANDROGEL ANTITRUST                MASTER DOCKET NO.
LITIGATION (II)                         1:09-MD-2084-TWT

ROCHESTER DRUG CO-OPERATIVE,
INC., ET AL.,
             PLAINTIFF,
                      V.
UNIMED PHARMACEUTICALS,                 CASE NO. 1:09-CV-956-TWT
LLC, ET AL.,
             DEFENDANTS.

LOUISIANA WHOLESALE DRUG
CO., INC., ET AL.,
             PLAINTIFF,
                      V.                CASE NO. 1:09-CV-957-TWT
UNIMED PHARMACEUTICALS,
LLC, ET AL.,
             DEFENDANTS.

MEIJER, INC., ET AL.,
            PLAINTIFFS,
                      V.
UNIMED PHARMACEUTICALS,                 CASE NO. 1:09-CV-958-TWT
LLC, ET AL.,
            DEFENDANTS.



     PLAINTIFFS’ MOTION IN LIMINE NO. 20 TO PRECLUDE
         INTRODUCTION OF HEARSAY STATEMENTS
          FROM FTC INVESTIGATIONAL HEARINGS
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RITE AID CORPORATION, ET AL.,
           Plaintiffs,
            v.                CASE NO. 1:09-CV-2776-TWT
UNIMED PHARMACEUTICALS, LLC,
ET AL.,
           Defendants.

WALGREEN CO., ET AL.,
         Plaintiffs,
           v.                CASE NO. 1:09-CV-3019-TWT
UNIMED PHARMACEUTICALS, LLC,
ET AL.,
         Defendants.

SUPERVALU, INC.,
         Plaintiff,
           v.                CASE NO. 1:10-CV-1024-TWT
UNIMED PHARMACEUTICALS, LLC,
ET AL.,
         Defendants.



            Pursuant to Local Rule16.4B.21 and the Court’s October 9, 2019

Pretrial Schedule (Dkt. No. 1830), Plaintiffs respectfully move for an order

precluding Defendants from offering into evidence their affirmative designations

of hearsay statements made during FTC’s investigational hearings for the reasons

stated in the accompanying Memorandum of Law.




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Date: November 15, 2019             Respectfully submitted,

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                    LOCAL RULE 7.1(D) CERTIFICATION

             I certify that this motion was prepared using Times New Roman 14-

point font pursuant to Local Rule 5.1(C).

                                                /s/ Lauren C. Ravkind
                                                    Lauren C. Ravkind




                         CERTIFICATE OF SERVICE

             I hereby certify that on November 15, 2019 a true and accurate copy of

the foregoing was filed electronically via CM/ECF in the United States District

Court for the Northern District of Georgia, with notice of the same being

electronically served by the Court to all counsel of record.

                                                /s/ Lauren C. Ravkind
                                                    Lauren C. Ravkind




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